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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  NORTHERN DIVISION

STATE OF MISSISSIPPI ex rel. Jim Hood,                                                                PLAINTIFF
Attorney General

V.                                                                   CAUSE NO. 3:08-CV-780-CWR-LRA

ENTERGY MISSISSIPPI, INC., et al.                                                                 DEFENDANTS

                                                     ORDER

         This Order addresses Entergy’s renewed argument that the Attorney General of

Mississippi cannot pursue monetary damages on behalf of Mississippi consumers injured by

Entergy’s allegedly fraudulent and anticompetitive conduct. See Docket No. 359.

         Entergy’s argument is grounded in Mississippi ex rel. Hood v. AU Optronics Corp., 701

F.3d 796, 801 (5th Cir. 2012), a case holding that individual consumers were real parties in

interest to one of the Attorney General’s earlier consumer protection lawsuits.

         That is a curious choice of cases in which to anchor an argument. In AU Optronics, the

Fifth Circuit took a particularly idiosyncratic view of consumer protection lawsuits brought by

state Attorneys General. The decision was so unusual—containing reasoning rejected by every

other Court of Appeals to consider the issue—that the United States Supreme Court unanimously

reversed in its next Term. See 571 U.S. 161 (2014).1 The Fifth Circuit had misread Congress’s

statutory instructions, “stretche[d] the meaning of ‘plaintiff’ beyond recognition,” and created

“an administrative nightmare that Congress could not possibly have intended.” Id. at 169-72.

         Entergy presses that the Fifth Circuit’s decision in AU Optronics nevertheless got some

things right. Here is what Entergy says:


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  Judge Elrod concurred in the judgment only because the majority opinion was a “fair application” of circuit
precedent. 701 F.3d at 803 (Elrod, J., concurring). She noted that “every court of appeals to address the issue” had
rejected the court’s approach. Id. at 805.
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       Specifically, the Court should rule that the State (through the Attorney General) has
       standing to seek recovery only for harm allegedly suffered by the State as a
       customer of EMI, not harm allegedly suffered by private individuals and businesses
       as customers of EMI. The Fifth Circuit so held in Mississippi ex rel. Hood v. AU
       Optronics Corp., 701 F.3d 796, 800-01 (5th Cir. 2012), rev’d on other grounds,
       571 U.S. 161 (2014).

The Fifth Circuit made no such holding. In AU Optronics, that court actually “assum[ed]

arguendo that the State has parens patriae standing to bring the claims here (an issue that we do

not decide).” 701 F.3d at 801. It is surprising that Entergy could so misread that decision.

       Mississippi law also is not favorable to Entergy’s position. The most complete

articulation of state law comes from a state trial court considering another one of the Attorney

General’s consumer protection cases. It reasoned as follows:

       The Defendant, BASF, contends that the Attorney General, in seeking to represent
       Mississippi consumers, seeks to assert “wholly unprecedented” authority in this
       action. In making this statement, the Defendant ignores the power of the Attorney
       General vested by the Mississippi Code and the common law. The Mississippi
       Antitrust Act states that the Attorney General may bring a suit for forfeiture and
       recovery of penalties in “the name of the state on the relation of the attorney general
       ...” Miss. Code § 75–21–7 (1972). The Mississippi Code also states that “the
       Attorney General ... shall have the powers of the Attorney General at common law
       ...” Miss. Code § 7–5–1 (1972). In Alfred L. Snapp & Son, Inc., v. Puerto Rico, ex
       rel., Barez, 458 U.S. 592 (1982), the United States Supreme Court explained that
       every state has the ability to represent the interests of all citizens in cases raising
       matters of sovereign interest. In Snapp, the Supreme Court held that parens
       patriae is “inherent in the supreme power of every State ... often necessary to be
       exercised in the interests of humanity, and for the prevention of injury to those who
       cannot protect themselves.” See Mormon Church v. United States, 136 U.S. 1, 57
       (1890). A State may maintain a parens patriae action if the State can articulate a
       quasi-sovereign interest apart from the interests of particular private parties. Alfred
       L. Snapp, at 607. A State has a quasi-sovereign interest in the economic conditions
       of its citizens. The indirect economic effects of the injury must be considered as
       well as “whether the State has alleged injury to a sufficiently substantial segment
       of its population.” One indicator whether a State has standing to sue as parens
       patriae is “whether the injury is one that the State, if it could, would likely attempt
       to address through its sovereign lawmaking powers.” An express grant of parens
       patriae authority is not needed for an attorney general to bring an action on behalf
       of the state to recover parens patriae damages. State of Louisiana, ex rel. Ieyoub v.
       Borden, Inc., 1995 WL 59548, *3 citing State of Texas v. Scott & Fetzer Co., 709
       F.2d 1024 (5th Cir.1983). . . .

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           The fact that the State of Mississippi has already addressed illegal monopolies, like
           the Defendant’s, through its Mississippi Antitrust Act and the Mississippi
           Consumer Protection Act is evidence that the State of Mississippi has a quasi-
           sovereign interest and standing as parens patriae for all of its citizens. This fact has
           been recognized by several courts. . . .

Hood ex rel. State v. BASF Corp., No. 56863, 2006 WL 308378, at *3 (Miss. Ch. Jan. 17, 2006)

(collecting cases); see also AU Optronics, 701 F.3d at 803 n.1 (“In its complaint, Mississippi

identified a valid quasi-sovereign interest in preventing illegal antitrust conduct prohibited under

MAA and MCPA.”) (Elrod, J., concurring). This should be enough to lay the standing argument

to rest.

           Entergy’s final point is that it should not be held liable for monetary damages to the

Attorney General and to consumers who may have brought their own suit. On this point—which

is fundamentally about damages, not standing—all agree. As the Fifth Circuit put it, “the state

cannot recover for the injury to the consumers and still preserve the right of the consumers to

recover, a right that the consumers clearly have under the statutes pursuant to which the suit is

brought.” AU Optronics, 701 F.3d at 801 (citation omitted).

           The problem here is that there is no evidence that other consumers have asserted parallel

claims against Entergy. The parties are in the best position to know that, in part because one

would expect Entergy to know the universe of Mississippians it has compensated for fraudulent

and anticompetitive conduct, and in part because the Mississippi Consumer Protection Act, as an

example, allows private suits only if the plaintiff “first made a reasonable attempt to resolve any

claim through an informal dispute settlement program approved by the Attorney General.” Miss.

Code Ann. § 75-24-15(2) (emphasis added). We do not know if any consumer filed such a claim

in the past, and the statute of limitations likely prevents them from doing so in the future. We




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will simply have to await evidence from the parties on whether there are any such claims and, if

so, subtract them from any damages that may be awarded in this case.

       As to this argument, therefore, the motion for judgment as a matter of law is denied.

       SO ORDERED, this the 30th day of March, 2019.

                                             s/ Carlton W. Reeves
                                             UNITED STATES DISTRICT JUDGE




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